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Assistant United States. Attorney

Before: HONORABLE KEVIN N. FOX
United States Magistrate Judge
Southern District of New York

UNIT. ED STATES OF AMERICA

a Violations of
-Ve- : 18U,S.C: §§ 1029(a)(2), (a)(5), and (b)(2),
: 1343, 1349 & 2; and 15 U.S.C. § 1644

‘CASEY MICHAEL ANTONE,
: COUNTY OF OFFENSE:
Defendant. : NEW YORK.

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PATRICK H. DEPASS, being duly sworn, deposes and says that he is a Special Agent
with the United States Secret Service and charges as follows:

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SOUTHERN DISTRICT OF NEW YORK, ss.:

COUNT ONE
(Conspiracy to Commit Access Device Fraud)

1. From at least in or about January 2015 up to and including at least in or about
November 2017, in the Southern District of New York and elsewhere, CASEY MICHAEL
ANTONE, the defendant, and others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree, together and with each other to commit access device fraud, in
violation of Title 18, United States Code, Sections 1029(a)(2) and 1029(a)(5).

2. It was a part and object of the conspiracy that CASEY MICHAEL ANTONE, the
defendant, and others known and unknown, knowingly and with intent to defraud, as part of an
offense affecting interstate and foreign commerce, trafficked in and used one and more
unauthorized access devices during a one-year period, and by such conduct obtained things of
value aggregating $1,000 and more during that period, in violation of Title 18, United States
Code, Section 1029(a)(1).

3. It was further a part and object of the conspiracy that CASEY MICHAEL
ANTONE, the defendant, and others known and unknown, knowingly and with intent to defraud,
as part of an offense affecting interstate and foreign commerce, effected transactions, with one
and more access devices issued to another person or persons, to receive payment and any other

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thing of value during a one-year period the aggregate value of which is equal to and greater than
$1,000, in violation of Title 18, United States Code, Section 1029(a)(5).

Overt Acts _

4. In furtherance of the conspiracy and to effect the illegal objects thereof, the
following overt acts, among others, were committed in the Southern District of New York and

elsewhere:

a.  Inor about J anuary 2017, CASEY MICHAEL ANTONE, the

defendant, fraudulently used a credit card number belonging to another person or persons to
make an online reservation for Amtrak train travel. ANTONE then obtained a refund and travel

voucher for this travel reservation.

. b. In or about January 2017, CASEY MICHAEL ANTONE, the
defendant, sold a fraudulently obtained Amtrak train travel voucher to a third party located in
Manhattan, New York and, in connection with that sale, sent interstate wire communications to
the third party and obtained a wire payment from the third party.

(Title 18, United States Code, Section 1029(a)(2), (a)(5), and (b){2).)

COUNT TWO
(Conspiracy to Commit Wire Fraud)

5. - From at least in or about January 2015 up to and including at least in or about
November 2017, in the Southern District of New York and elsewhere, CASEY MICHAEL
ANTONE, the defendant, and others known and unknown, willfully and knowingly, did
combine, conspire, confederate, and agree together and with each other to commit wire fraud, in

violation of Title 18, United States Code, Section 1343.

6. Tt was a part and object of the conspiracy that CASEY MICHAEL ANTONE, the
defendant, and others known and unknown, willfully and knowingly, having devised and
intending to devise a scheme and artifice to defraud and for obtaining money and property by
means of false and fraudulent pretenses, representations, and promises, would and did transmit
and cause to be transmitted by means of wire, radio, and television communication in interstate
and foreign commerce, writings, signs, signals, pictures, and sounds for the purpose of executing
such scheme and artifice, in violation of Title 18, United States Code, Section 1343.

(Title 18, United States Code, Section 1349.)

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COUNT THREE
(Wire Fraud)

7. From at least in or about January 2015 up to and including at least in or about
November 2017, in the Southern District of New York and elsewhere, CASEY MICHAEL
ANTONE, the defendant, willfully and knowingly, having devised and intending to devise a
scheme and’ artifice to defraud, and for obtaining money and property by means of false and
fraudulent pretenses, representations, and promises, and attempting to do so, did transmit and
cause to be transmitted by meanis of wire, radio, and television communication in interstate and
foreign commerce, writings, signs, signals, pictures, and sounds, for the purpose of executing
such scheme and artifice, to wit, ANTONE made purchases or attempted purchases using
fraudulently obtained credit card numbers, and sold property purchased using fraudulently
obtained credit card numbers to third parties, and in connection therewith and in furtherance
thereof, ANTONE transmitted and caused to be transmitted interstate electronic mail, telephone
calls, and wire transfers of funds. .

(Title 18, United States Code, Sections 1343 and 2.)

COUNT THREE
(Fraudulent Use of Credit Cards)

8. From at least in or about May 2016 and v up to and including at least in or about
November 2017, in the Southern District of New York and elsewhere, CASEY MICHAEL
ANTONE, the defendant, did knowingly receive, conceal, use, sell, and transport in interstate
and foreign commerce one and more tickets for interstate and foreign transportation which had
been purchased and obtained with one and more counterfeit, fictitious, altered, forged, lost,
stolen, and fraudulently obtained credit cards, and which within a one-year period had a value
aggregating $500 and more, to wit, ANTONE purchased Amtrak train tickets whose aggregate
value exceeded $500 using debit and/or credit card account numbers of third parties: without

authorization.

(Title 15, United States Code, Section 1644(e); Title 18, United States Code, Section 2)
The bases for my knowledge and for the foregoing charges are, in part, as follows:

9. I have been a Special Agent with the United States Secret Service (“USSS”) for
approximately 2 % years and have been a member of the Electronic Crimes Task Force for
approximately 14 months. During my law enforcement career, I have investigated cases
involving cybercrimes and financial crimes, including but not limited to wire fraud, bank fraud,
and money laundering, and have made and participated in arrests of individuals who have
committed such offenses.

10. Ihave been personally involved in the investigation of these matters since in or
about November 2016. I base this affidavit on that personal experience, as well as on my
conversations with other individuals, including other law enforcement agents, and my
examination of reports and records.

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11. Because this affidavit is being submitted for the limited purpose of establishing
probable cause, it does not include all the facts that I have learned during the course of my
investigation. Where the contents of documents and the actions, statements and conversations of
others are reported herein, they are reported in substance and in part, except where otherwise
indicated.

Overview of the Investigation

12. __ As described in greater detail below, CASEY MICHAEL ANTONE, the
defendant, and co-conspirators known and unknown, used and attempted to use, without
permission or authorization, the American Express accounts of third parties (the “Victims”) to
purchase a range of goods and services, including but not limited to Amtrak train tickets, airfare,
hotel accommodations, taxi and car services, and food. These fraudulent purchases and
attempted purchases span from at least in or about January 2015 through at least in or about
November 2017, and are believed to total in excess of at least $747,000. (See §¥] 25-29, injra).

13. With respect to Amtrak train travel, CASEY MICHAEL ANTONE, the
defendant, purchased tickets for Amtrak train travel over the internet using the American Express
accounts of the Victims. These tickets were typically booked under ANTONE’s name or a
variation on ANTONE’s name. ANTONE then sought refunds for these Amtrak train tickets
and, in exchange, obtained Amtrak vouchers redeemable for Amtrak train tickets. See FT 30-45,

infra).

14, After obtaining Amtrak vouchers in this way, CASEY MICHAEL ANTONE, the
defendant, posted those vouchers for sale online. ANTONE sold the Amtrak vouchers to third
party co-conspirators, who paid for the vouchers by transferring funds to accounts belonging to
ANTONE. In turn, ANTONE made Amtrak travel reservations in the names of his co-
conspirators and provided them with electronic tickets for travel. Portions of this Amtrak train
travel occurred in or through the Southern District of New York. In furtherance of this scheme,
ANTONE also exchanged interstate wire communications with one or more individuals located
within the Southern District of New York. (See id.).

15. CASEY MICHAEL ANTONE, the defendant, transferred the funds he received
as 45 payment for the sale of Amtrak vouchers to bank cards or bank accounts belonging to
ANTONE. ANTONE then withdrew the funds in cash or used them to make various purchases.

(See N 30-36, infra).
Overview of ANTONE Accounts

16. Based on my participation in this investigation and my review of relevant records,
as set forth immediately below, I have learned, among other facts, that CASEY MICHAEL
ANTONE, the defendant, uses numerous email accounts, and has accounts with eBay, PayPal,
and Venmo. ANTONE also uses a particular bank account and telephone number.

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ANTONE Email Account-1

17. | Based on my review of records obtained from Google, I have learned, among ~
other facts, that a particular Gmail address (“ANTONE Email Account-1”) is registered to
“Michael A.” In addition, the contents of ANTONE Email Account-1 include, but are not

limited to, the following:

a. Emails from eBay.com addressed to “michael antone,” with a particular
eBay user ID (the “ANTONE eBay Account”), including but not limited to more than
approximately 200 emails that contain the word “Amtrak.” These messages include emails sent
directly from eBay and messages between eBay members that were forwarded by eBay. For
example, on or about November 29, 2016, eBay.com sent a message confirming that the
ANTONE eBay Account listed “Amtrak Train Vouchers” for sale on eBay under the item
number 252659124401. On or about November 30, 2016, eBay sent an email concerning this
same item number. This email forwarded a message from another eBay user offering to make
the ANTONE eBay Account a payment through PayPal for a one-way Amtrak reservation.

b. Emails from PayPal.com addressed to “Casey Antone” concerning the
PayPal account associated with ANTONE Email Account-1 (the “ANTONE PayPal Account’).
For example, these messages include approximately 15 emails reflecting payments or money
requests for Amtrak train tickets and vouchers, and nearly 50 messages reflecting a pending
transfer of funds from the PayPal Account to a Metabank account with the last four digits 8165
(the “ANTONE Metabank Account”). As a further example, these messages also include an
email sent on or about December 4, 2016 confirming that a particular telephone number
(“ANTONE Phone Number-1’’) was linked to the ANTONE PayPal Account.

c. An email sent to PayPal.com on or about February 2, 2017 with the
subject line “My Account!” and signed “Casey Michael Antone.”

d. Emails from Venmo.com addressed to. “Casey Michael” concerning the
Venmo account associated with ANTONE Email Account-1 (the “ANTONE Venmo Account”).
These messages include, but are not limited to, a message sent on or about November 25, 2016
confirming that the ANTONE Metabank Account was added to the Venmo account. These
messages also include messages reflecting incoming payments for Amtrak tickets.

€. Emails from Amtrak.com, including but not limited to electronic tickets
and receipts for Amtrak train travel issued under the passenger names “CASEY ANTONE,”
“MIKE ANTONE,” “MICHAEL ANTONE,” and “CHRIS ANTONE,” as well as the names of
multiple third parties; refund receipts for Amtrak train travel; electronic vouchers redeemable for
Amtrak train travel; and Amtrak reservation confirmations that list ANTONE Phone Number-1
as the telephone number to which delay alerts would be sent.

The ANTONE eBay Account

18. Based on my review of eBay records, I have learned, among other facts, that the
ANTONE eBay Account is registered to “michael antone” and that the email address associated
with the ANTONE eBay Account is ANTONE Email Account-1.

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The ANTONE PayPal Account

19. Based on my review of PayPal records, as well as the results of a law enforcement
database that I searched for the date of birth and social security number of CASEY MICHAEL
ANTONE, the defendant, I have learned, among other facts, that the ANTONE PayPal Account
was created on or about June 17, 2016 under the name “Casey Antone”; the date of birth and
social security number for the ANTONE PayPal Account belong to ANTONE; the email address
associated with the ANTONE PayPal Account is ANTONE Email Account-1; and the phone
number associated with the ANTONE PayPal Account is ANTONE Phone Number-1.

The ANTONE Venmo Acount

20. Based on my review of Venmo records, I have learned, among other facts, that the
ANTONE Venmo Account was created on or about November 25, 2016 under the name “Casey
Michael Antone”; the phone number associated with the ANTONE Venmo Account is ANTONE
Phone Number-1; the email address associated with the ANTONE Venmo Account is ANTONE
Email Account-1; and the bank account associated with the ANTONE Venmo Account is the

ANTONE Metabank Account.
The ANTONE Metabank Account

21. Based on my review of Metabank records, as well as the results of a law
_ enforcement database that I searched for the date of birth and social security number of CASEY
MICHAEL ANTONE, the defendant, I have learned the following facts, among others:

a. The ANTONE Metabank Account was opened on or about August 4, 2016
under the name “Casey Antone.” The date of birth and social security number for the ANTONE
Metabank Account belong to ANTONE. The phone number associated with the ANTONE
Metabank Account is ANTONE Phone Number-1.

b. Metabank is the issuing bank for a Netspend prepaid debit card issued on
the ANTONE Metabank Account. Netspend debit cards are prepaid accounts funded through
cash deposits, as well as electronic transfers. Netspend debit cards bear Visa or Mastercard
logos and can be used as credit cards and at ATMs.

Cc. The transaction history for the ANTONE Metabank Account from on or
about August 4, 2016 through on or about February 17, 2017 includes, but is not limited to
incoming transfers from Western Union, PayPal, Venmo, and JPMorgan Chase, among other
sources; ATM withdrawals; and debit card payments at a variety of vendors, including but not
limited to 7-Eleven, Starbucks, and Walgreens, among others.

22. As noted in paragraphs 17(b), 17(d), and 20, supra, the ANTONE Metabank
Account is referenced in emails sent to ANTONE Email Account-1 and is associated with the
ANTONE Venmo Account.

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ANTONE Phone Number-1

23. As noted in paragraphs 17(b), 19, 20, and 21(a), supra, ANTONE Phone Number-
1 is referenced in emails sent from PayPal and Amtrak to ANTONE Email Account-1 and is -
associated with the ANTONE PayPal Account, the ANTONE Venmo Account, and the

ANTONE Metabank Account.

24. Based on the foregoing, I believe that CASEY MICHAEL ANTONE, the
defendant, is the user and owner of ANTONE Email Account-1, the ANTONE eBay Account,
the ANTONE PayPal Account, the ANTONE Venmo Account, the ANTONE Metabank

Account, and ANTONE Phone Number-1.
Dutch Arrest & Post-Arrest Interview

25. Based on my conversations with a Special Agent with the Southern District of
New York (“SA-1”), who has spoken to a Dutch prosecutor and a Dutch law enforcement
officer, I have learned the following facts, among others:

d. On or about April 11, 2016, CASEY MICHAEL ANTONE, the defendant,
was arrested by local authorities in the Netherlands after they received information from
American Express that ANTONE was using fraudulently obtained American Express credit card
numbers to purchase goods and services throughout Europe, including but not limited to hotel
accommodations. .

e. Approximately two weeks after his arrest in the Netherlands, ANTONE —
who is a United States citizen — was deported to the United States. The Dutch authorities
suspended their case against ANTONE.

26. Based on my review of a translation of Dutch law enforcement records, I
have learned the following facts, among others: :

f. On or about April 12,2016, CASEY MICHAEL ANTONE, the defendant,
was interviewed by Dutch police officers.

g. At the outset of the interview, the Dutch police officers notified
ANTONE, in substance and in part, of his right to the assistance of an attomey and of his right to
waive the presence of an attorney during the interview. ANTONE stated, in substance and in
part, that he did not require an attorney and had consulted with one that morning.

h. During the interview, ANTONE stated, in substance and in part, that he
had previously created American Express credit card numbers using his knowledge of the
algorithm used by American Express in generating card numbers. ANTONE claimed to have
last engaged in this activity many years ago while living in Germany. ANTONE explained that
he used the credit card numbers he generated to order goods online, which he re-sold to third

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parties. Each time that ANTONE placed an order using one of these credit card numbers, he
would open a new email address.

Antone’s Deportation to the United States:

27. Based on my conversations with SA-1, who has spoken to a Dutch prosecutor and
a Dutch law enforcement officer, I have learned, among other facts, that CASEY MICHAEL
ANTONE, the defendant, was deported from the Netherlands to the United States in or about late
April 2016 or early May 2016.

28. . Based on my review of an email obtained from American Express, I have learned
the following facts, among others:

a On or about May 6, 2016, ANTONE sent an email to a representative of
American Express from ANTONE Email Account-1. The email was signed with the name"
“Casey Michael Antone.”

b. In the email, ANTONE stated, in substance and in part, that: ‘There was
no doubt in my mind whatsoever I was going to have to spend at least a couple years in prison in
Holland and who knows afterwards. Also there was never a doubt I would be deported once all
that had passed. . . I just don’t get what happened. 14 days in custody and then deported to the
states to any city I chose to go to, compliments of the Dutch government? ... I look at this as a
gift... and a new chance in life to start fresh, legally for once because I can . . . It was never

anything personal.”
American Express Fraud

29. . Based on my review of records obtained from American Express, as well as my
conversations with representatives of American Express about those records, I have learned the
following facts, among others:

a. Before CASEY MICHAEL ANTONE, the defendant, was deported to the
United States in or about late April 2016 or early May 2016, ANTONE, and co-conspirators
known and unknown, made numerous purchases using fraudulently obtained American Express
credit card numbers.

b. Specifically, American Express has identified thousands of fraudulent

purchases or attempted purchases that were made between on or about January 3, 2015 and on or
about April 11, 2016, which American Express believes are associated with ANTONE and that
were made using American Express credit card numbers not issued to ANTONE.

c. American Express first identified ANTONE when he made hotel and other
bookings in his own name, using email addresses that contained his name or variations on his
name.

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d. American Express then ran queries to identify other transactions
associated with ANTONE, including by analyzing the purchaser names, email addresses, and IP
addresses associated with fraudulent transactions to identify common patterns. American
Express also searched for patterns in the fraudulent credit card numbers that were used in those

transactions.

e. The transactions identified by American Express as being associated with
ANTONE include, but are not limited to, payments or attempted payments to hotels, restaurants,
and other vendors where the transactions: (1) list an email address known or believed to be
associated with ANTONE, and/or (2) were made using an IP address or credit card number that
was also used in making other purchases or attempted purchases believed to be associated with

ANTONE.

f. After ANTONE was deported to the United States in or about late April
2016 or early May 2016, American Express continued to identify transactions made using
fraudulently obtained credit card numbers, made primarily from vendors or IP addresses in the
' United States, that they believe are associated with ANTONE or his co-conspirators. American
Express identified these transactions using the same kind of analysis described in paragraphs

29(a)-(e), supra.

g. The purchases or attempted purchases that American Express has
identified as being attributable to fraud committed by ANTONE are in excess of at least
$747,000.

Amtrak Fraud

30. Based on my review of records obtained from American Express, as well as my
conversations with representatives of American Express about those records, I have learned the
following facts, among others:

a. The fraudulent transactions that American Express has identified as being
associated with CASEY MICHAEL ANTONE, the defendant, include, but are not limited to,
travel reservations made through Amtrak’s website, which: (1) list ANTONE or a variation on
his name as the passenger; (2) list an email address known or believed to be associated with
ANTONE, including but not limited to ANTONE Email Acount-1, among others; and/or (3)
were made using an IP address or credit card number that was also used in making other
reservations believed to be associated with ANTONE.

b. The purchases or attempted Amtrak purchases that American Express has
identified as being attributable to fraud committed by ANTONE span from at least in or about
May 2016 through at least in or about November 2017, and exceed at least $137,000.

‘31. Based on my experience in this investigation and in prior investigations, I
understand that eBay.com hosts an online marketplace where users can post items for sale or
auction. Based on that same information, I understand that eBay users can respond to listings
posted on eBay to send messages to the user who posted the listing.

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_ 32. Based on my review of eBay records, I have learned the following facts, among
others:

a. Between on or about November 29, 2016 and on or about January 22,
2017, the ANTONE eBay Account posted approximately eight listings for the online sale or
auction of Amtrak train vouchers or an Amtrak train ticket. These eight listings expired between
on or about December 1, 2016 and on or about February 1, 2017. For five of these eight listings,
eBay records show the name of the buyer or successful bidder and the sales price.

b. For example, eBay records show that on or about January 10, 2017, the
ANTONE eBay Account posted a listing for the auction of “Amtrak Train Vouchers” for
$300.00 (the “January 10, 2017 eBay Listing”). eBay records further show that this auction
ended.on or about January 12, 2017, and that the buyer was an individual in California.

33. Based on my review of the PayPal website, I have learned, among other facts, that
PayPal allows its users to send and receive electronic payments to and from their PayPal -
accounts using debit cards and credit cards. PayPal charges a fee for this service which, in the
United States, is 2.9% of the total amount being sent, plus $0.30.

34,, Based on my review of PayPal records, I have learned, among other facts, the
_ following:

a. Between on or about December 1, 2016 and on or about January 12, 2017,
CASEY MICHAEL ANTONE, the defendant, received approximately four payments to the
ANTONE PayPal Account that were described as payment for “Amtrak Train Vouchers” or
“Amtrak Voucher Ticket.”

b. Based on matching dates, names, descriptions, and/or amounts of these
payments, these PayPal payments appear to be from the buyers on four of the five eBay listings
described in paragraph 32(a), supra.

C. Between on or about November 23, 2016 and on or about January 26,
2017, ANTONE withdrew a total of approximately $4,664.69 from the ANTONE PayPal
Account and transferred it to the ANTONE Metabank Account or a bank card associated
therewith. . ;

d. Between on or about June 18, 2015 and on or about January 26, 2017,
ANTONE made payments to various vendors using the ANTONE PayPal Account totaling
approximately $1,083.01, including but not limited to payments to Macy’s, GrubHub, and
Hotels.com.

35. Based on my review of the Venmo website, I have learned, among other facts,
that Venmo is a mobile phone application that allows users to make and receive payments from a
bank account or bank card, and to transfer funds from their Venmo accounts to a bank account or

bank card.

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36. Based on my review of Venmo records, I have learned the following facts, among
others:

a. Between on or about December 7, 2016 and on or about December 11,
2016, the ANTONE Venmo Account received approximately five deposits and approximately
one attempted deposit described as being for “Amtrak Ticket,” “Amtrak,” “Amtrak Tik,”
“Train,” “PJ Amtrak Ticket,” or “Portland Trip.” After each of the five successful deposits,
ANTONE transferred funds from the ANTONE Venmo Account to the ANTONE Metabank
Account or a bank card associated therewith. For four of these deposits, ANTONE transferred
the entire amount of the payment out of the ANTONE Venmo Account and decreased the

account balance to $0.00.

b. For example, on or about December 7, 2016, the ANTONE Venmo
Account received a payment of approximately $75.00, which increased the balance of the
ANTONE Venmo Account to approximately $75.00. On or about December 7, 2016, the
ANTONE Venmo Account transferred approximately $75.00 to the ANTONE Metabank
Account or a bank card associated therewith, which decreased the balance of the ANTONE

Venmo Account to $0.00.

Co-Conspirator Arrest

37. In addition to buying goods or services using fraudulently obtained American
Express credit card numbers, CASEY MICHAEL ANTONE, the defendant, has re-sold at least
some of those stolen goods or services to third parties. For example, as detailed in paragraphs 38
to 45, infra, ANTONE sold Amtrak travel vouchers to a co-conspirator who was arrested in or
about late 2016 (“CC-1”), as well as an undercover officer (““UC-1”).

38. Based on my review of a report written by a Detective with the Amtrak Police
Department (“Amtrak Detective-1” and the “APD,” respectively), I have learned the following
facts, among others:

a. In or about late 2016, Amtrak Detective-1 identified an Amtrak
reservation for travel from a location in Manhattan, New York to a state outside of New York
(the “CC-1 Travel Reservation”). The passenger, CC-1, was being monitored for travel within
the Amtrak system due to suspected prior fraud against Amtrak, including a prior arrest by
Amtrak Detective-1 during which CC-1 was advised that Amtrak vouchers purchased from third
patties are void upon transfer from one party to another.

b. Amtrak Detective-1 reviewed the CC-1 Travel Reservation and the
associated payment methods. Amtrak Detective-1 determined that the CC-1 Travel Reservation
was purchased using an Amtrak travel voucher (“Fraudulent Travel Voucher-1”’), and that the
email address associated with Fraudulent Travel Voucher-1 was ANTONE Email Account-1.
Amtrak Detective-1 further determined that Fraudulent Travel Voucher-1 was issued as a refund
for a prior travel reservation under the name “Michael Casey Anton,” which was subsequently
exchanged for approximately five travel reservations, including but not limited to the CC-1

Travel Reservation.

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c. Amtrak Detective-1 determined that the credit card associated with
Fraudulent Travel Voucher-1 was an American Express card. Amtrak Detective-1 contacted a
representative of American Express and was advised that the credit card had been flagged for
fraud.

d. CC-1 was approached and arrested by APD officers. After being advised
_ of CC-1’s Miranda rights and agreeing to speak with APD officers, CC-1 stated, in substance
and in part, that CC-1 first made contact with CASEY MICHAEL ANTONE, the defendant,
over eBay and craigslist when CC-1 queried Amtrak vouchers. CC-1 corresponded with
ANTONE over several emails and agreed to purchase an Amtrak voucher for less than half of its
value. CC-1 paid for the voucher using Venmo.

The January 25, 2017 Undercover Purchase

39. Based on my review of Amtrak records, I have learned the following facts, among
others: ,

a. On or about January 22, 2017, an American Express credit card number
was used to make an online reservation for Amtrak train travel (“the Original Fraudulent
Reservation”). The Original Fraudulent Reservation was for train travel from Portland, Oregon

to Los Angeles, California, with a total value of $627.00. “(Casey Antone” was listed as the
passenger on the Original Fraudulent Reservation. The email address associated with the
Original Fraudulent Reservation was ANTONE Email Account-1.

b. On or about January 22, 2017, the Original Fraudulent Reservation was
refunded and exchanged for an Amtrak travel voucher for $627.00 (“Fraudulent Travel Voucher-
2”). The email address associated with the Fraudulent Travel Voucher was ANTONE Email

Account-1.

c. On or about January 25, 2017, $294.00 of the Fraudulent Travel Voucher
was used to make an online reservation for Amtrak train travel from New York Penn Station to
Boston, Massachusetts (the “Undercover Travel Reservation”). As detailed in paragraphs 40 to
45, infra, the Undercover Travel Reservation was made at the request of UC-1, based on
information provided to CASEY MICHAEL ANTONE, the defendant.

40. - Based on my review of American Express records of fraudulent transactions
believed to be associated with CASEY MICHAEL ANTONE, the defendant, I have learned,
among other things, that the purchase of the Original Fraudulent Reservation was fraudulent. In
other words, American Express has confirmed that the credit card number used to make this
purchase was used without authorization.

41. Based on my review of publicly available eBay listings, and eBay records, I have
learned the following facts, among others:

a. On or about January 22, 2017, the ANTONE eBay Account posted a
listing for the auction of “Amtrak Train Vouchers” (the “January 22, 2017 eBay Listing”).

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42. _ Based on my participation in this investigation, and my communications with UC-
1, Ihave learned, among other facts, that UC-1 used a particular eBay account (the “Undercover

eBay Account”).

43.  Basedon my review of messages sent by and between the ANTONE eBay
Account and the Undercover eBay Account, I have learned the following facts, among others:

a. On or about January 25, 2017, while located in the Southern District of
New York, UC-1 sent a message to the ANTONE eBay Account in response to the January 22,
2017 eBay Listing. UC-1 stated, in substance and in part, that UC-1 would be traveling from
Penn Station in New York City to South Station in Boston, Massachusetts, and asked how the
process worked. .

b, The user of the ANTONE eBay Account replied, in substance and in part,
that he would need the itinerary, traveler name, email address, and phone number for the
reservation, and that “Whatever the price on Amtrak.com is then your price would be half of that

paid through PayPal...”

c. UC-1 responded with the details for his trip, including but not limited to
the fact that UC-1 would be traveling on February 1, 2017, from New York Penn Station to
Boston South Station, and provided a name and email address for the reservation. UC-1 also
stated, in substance and part, that the price for the ticket on Amtrak.com was $294.00, and asked
for confirmation that he would only have to pay $147.00. UC-1 provided the user of the
ANTONE eBay Account with a telephone number (the “Undercover Cellphone”).

44. —_ Based on my review of text messages sent to and from the Undercover Cellphone,
I have learned the following facts, among others:

a. On or about January 25, 2017, the Undercover Cellphone exchanged a
seties of text messages with ANTONE Phone Number-1. In these text messages, the user of
ANTONE Phone Number-1 identified himself as “Casey Antone” and stated, in substance and in
part, that he goes by his middle name, Michael. The user of ANTONE Phone Number-1 stated,
in substance and in part, that he had just booked UC-1’s ticket through Amtrak and that, because

the online “price was $294... my price is $147 as agreed.”

Db. The user of ANTONE Phone Number-1 stated, in substance and in part, |
that UC-1 could pay for the reservation through PayPal, under the name “Casey Antone”and the
email address ANTONE Email Account-1. UC-1 sent a message stating, in substance and in
part, that he had sent the payment through PayPal. The user of ANTONE Phone Number-1
responded by confirming, in substance and in part, that he had received the payment.

C. UC-1 further stated, in substance and in part, that he makes this trip a few
times a year, and asked whether he could contact the user of ANTONE Phone Number-1! directly
the next time he needs tickets. The user of ANTONE Phone Number-1 responded “Absolutely.”

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45. Based on my review of Amtrak records, and my discussions with Amtrak
Detective-1, I have learned that on or about January 25, 2017, a portion of the Fraudulent Travel
Voucher was used to book the reservation requested by UC-1, using the traveler name, itinerary,
and email address that UC-1 had provided to CASEY MICHAEL ANTONE, the defendant, as

- detailed in paragraph 43, supra.

WHEREFORE, I respectfully request that an arrest warrant be issued for CASEY
MICHAEL ANTONE, the defendant, and that the defendy it be arrested, and imprisoned or
bailed, as the case may be.

PATRICK H. “pat Ss
Special Agent
United States Secret Service

Sworn to before me this
ist day of February, 2018

- HONORABLE KEVIN N. FOX
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK

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Mod AO 442 (09/13) Arrest Warrant AUSA Name & Telno: Jessica Greenwood - (212) 637-1090
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UNITED STATES DISTRICT COURT
for the

Southern District of New York

“+8 MAG O838l

United States of America

Vv.
CASEY MICHAEL ANTONE

Nee” Newt” Wompet Smee” Nee Smee?

Defendant

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arresied) CASEY MICHAEL ANTONE :
who is accused of an offense or violation based on the following document filed with the court:

[1 Indictment O Superseding Indictment C) Information © Superseding Information we Complaint
(1 Probation Violation Petition CI Supervised Release Violation Petition (Violation Notice © Order of the Court

This offense is briefly described as follows:

Conspiracy to Commit Access Device Fraud (18 USC 1029(a)(2), (a)(5), and (b)

Conspiracy to Commit Wire Fraud (18 USC 1349)

* Wire Fraud and Aiding and Abetting the Same (18 USC 1343 and-2)

Fraudulent Use of Credit Cards and Aiding and Abetting the Same (15 USC 1644(e), 18 USC 2)

Date: 02/01/2018 [Carn Lada Dt

issuing officer's signature

City and state: _ New York, New York Hon. Kavin N. Fox, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) . , and the person was arrested on (date)
at (city and state) :
Date:

Arresting officer's signature

Printed name and title

